                                                                       (SPACE BELOW FOR FILING STAMP ONLY)
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 7
 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10                                                 ********
11   UNITED STATES OF AMERICA,           )                   CASE NO.: 1:06-CR-00059 AWI
                                         )
12         Plaintiff,                    )                   STIPULATION AND ORDER
                                         )                   REGARDING MODIFICATION OF
13   vs.                                 )                   PRETRIAL CONDITIONS AS TO
                                         )                   “TRAVEL RESTRICTIONS” TO
14   FRANCHESKA BRIZAN, et al.,          )                   INCLUDE TRAVEL IN THE
                                         )                   NORTHERN DISTRICT OF
15         Defendant.                    )                   CALIFORNIA
     ____________________________________)
16
17                   It is hereby stipulated between the parties that the defendant, Francheska Brizan’s
18   pretrial release conditions as to “travel restrictions” be modified to include travel within the Northern
19   District (as it currently allows travel only within the Eastern District without prior permission of
20   Pretrial Services). Pretrial Services Officer, Kim Dalton, is in agreement with this modification.
21
22   DATED: November 30, 2006                        /s/ Harry M. Drandell
                                                     _________________________________________
23                                                   HARRY M. DRANDELL,
                                                     Attorney for Defendant, Francheska Brizan
24
25   DATED: November 30, 2006                        /s/ Karen A. Escobar
                                                     _____________________________________________
26                                                   KAREN A. ESCOBAR,
                                                     Attorney for Plaintiff, United States of America
27   ///
28   ///
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 1                                               ORDER
 2                  IT IS SO ORDERED that defendant, Francheska Brizan’s pretrial release conditions
 3   regarding travel restrictions is hereby modified to include travel within the Eastern and Northern
 4   Districts of California unless otherwise approved in advance by Pretrial Services.
 5
 6
 7   IT IS SO ORDERED.
 8   Dated:     December 5, 2006                       /s/ Anthony W. Ishii
     0m8i78                                      UNITED STATES DISTRICT JUDGE
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